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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NOS: CR05-0321 TSZ;
                                          )            CR00-0043 TSZ; CR99-0607 TSZ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            SUMMARY REPORT OF U.S.
11   TIFFANY FLORENCE SARDEN              )            MAGISTRATE JUDGE AS TO
                                          )            ALLEGED VIOLATIONS
12         Defendant.                     )            OF SUPERVISED RELEASE
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on March 27, 2008. The United States was represented by AUSA Norman M. Barbosa and

16 the defendant by Sally R. Gustafson Garrett. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about December 1, 2005 in Case No. CR05-0321 by

18 the Honorable Thomas S. Zilly on charges of Conspiracy to Commit Identity Theft and Bank

19 Fraud, and sentenced to 18 months custody, 5 years supervised release. (Dkt. 44 )

20         The conditions of supervised release included the standard conditions plus the requirements

21 that defendant be required to cooperate in the collection of DNA, be prohibited from possessing

22 a firearm, submit to mandatory drug testing, participate in a substance abuse program, abstain

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 from alcohol, submit to search, participate in a mental health program, pay restitution in the

02 amount of $37,459.54, provide access to financial information, maintain a single checking account

03 for all financial transactions, provide information about all business interests, disclose all assets and

04 liabilities, allow access to her personal computer, notify her probation officer of all software

05 purchases, consent to ongoing monitoring of her computer, be prohibited from acquiring any new

06 lines of credit, not be self-employed or employed by friends or relatives without approval, get pre-

07 approval for all employment, provide information to her probation officer about earnings and not

08 work for cash, and not possess any identification documents in any but her true identity.

09           The defendant had previously been sentenced in Case Nos. CR00-0043 TSZ and CR99-

10 0607 TSZ, and was on supervised release at the time charges were filed in CR05-0321TSZ.

11 According to the report filed by the probation officer, the periods of supervision in those cases

12 have been tolled.

13           In an application dated March 11, 2008 (Dkt. 56 ), U.S. Probation Officer Felix Calvillo,

14 Jr. alleged the following violations of the conditions of supervised release:

15           1.      Failing to notify the probation officer 10 days prior to a change in residence in

16 violation of standard condition #6.

17           2.      Failing to notify the probation officer 10 days prior to a change of employment in

18 violation of standard condition #6.

19           3.      Failing to submit a written report to the U.S. Probation office within the first five

20 days of January and February 2008, in violation of standard condition #2.

21           Defendant was advised in full as to those charges and as to her constitutional rights.

22           Defendant admitted the alleged violations and waived any evidentiary hearing as to

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01 whether they occurred. (Dkt. 62.)

02          I therefore recommend the Court find defendant violated her supervised release as alleged,

03 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

04 set before Judge Zilly.

05          Pending a final determination by the Court, defendant has been detained.

06          DATED this 27th day of March, 2008.



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08                                                Mary Alice Theiler
                                                  United States Magistrate Judge
09

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     cc:    District Judge:                Honorable Thomas S. Zilly
11          AUSA:                          Norman M. Barbosa
            Defendant’s attorney:          Sally R. Gustafson Garrett
12          Probation officer:             Felix Calvillo, Jr.

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